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                              UNITED STATES DISTRICT COURT
1
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
2                                   SAN JOSE DIVISION

3     NATIONAL ASSOCIATION FOR GUN                    Case Number: 5:22-cv-00501-BLF
      RIGHTS, INC., a nonprofit corporation, and      Case Number: 5:22-cv-02365-BLF
4
      MARK SIKES, an individual,
5                                                     CONSOLIDATED SECOND AMENDED
                   Plaintiffs,
                                                      COMPLAINT FOR INJUNCTIVE RELIEF,
6                  And                                DECLARATORY JUDGMENT,
7                                                     INVALIDATION OF §§ 10.32.215 AND
      HOWARD JARVIS TAXPAYERS ASSN., a                10.32.230(B) OF CHAPTER 10.32 OF TITLE
8     nonprofit corporation, SILICON VALLEY           10 OF THE SAN JOSE MUNICIPAL CODE,
      TAXPAYERS ASSN., a nonprofit corporation,       AND NOMINAL DAMAGES
9
      SILICON VALLEY PUBLIC
10    ACCOUNTABILITY FOUNDATION, a
      nonprofit corporation, JIM BARRY, an            Judge: Hon. Beth Labson Freeman
11    individual, and GEORGE ARRINGTON, an
12    individual,

13                 Plaintiffs,
14                 v.

15    CITY OF SAN JOSE, a public entity,
16    JENNIFER MAGUIRE, in her official capacity
      as City Manager of the City of San Jose, the
17    CITY OF SAN JOSE CITY COUNCIL, and
      ALL PERSONS INTERESTED in the matter
18    of San Jose Ordinance No. 30716, establishing
19    an Annual Gun Harm Reduction Fee,

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                   Defendants.
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1           Plaintiffs by and through the undersigned counsel, hereby bring this consolidated action for
2    injunctive relief, a declaratory judgment, invalidation of the fee provisions, and nominal damages as a
3    result of the City of San Jose’s unconstitutional and unlawful ordinance, specifically Part 6 of Chapter
4    10.32 of Title 10 of the San Jose Municipal Code (the “Ordinance”).
5           In support of these requests, Plaintiffs state as follows:
6                                              INTRODUCTION
7           1.      The Second Amendment provides an “unqualified command”: “the right of the people
8    to keep and bear Arms, shall not be infringed.” See New York State Rifle and Pistol Association, Inc.
9    v. Bruen, 142 S.Ct. 2111, 2126 (2022) (quoting Konigsberg v. State Bar of Cal., 366 U.S. 36, 50 n.
10   10 (1981); U.S. Const., Amend. 2.
11          2.      “The constitutional right to bear arms in public for self-defense is not ‘a second-class
12   right, subject to an entirely different body of rules than the other Bill of Rights guarantees.’” New
13   York State Rifle and Pistol Association, Inc. v. Bruen, 142 S.Ct. 2111, 2156 (2022) (quoting
14   McDonald v. City of Chicago, 561 U.S. 742, 780 (2010) (plurality opinion)).
15          3.      The Second Amendment (incorporated through the Fourteenth Amendment)
16   “guarantee[s] the individual right to possess and carry weapons in case of confrontation,” District of
17   Columbia v. Heller, 554 U.S. 570, 592 (2008). This right is particularly acute at home, “where the
18   need for defense of self, family, and property is most acute.” Heller, 554 U.S. at 628. Thus, the
19   conduct at issue in this case falls within the plain text of the Second Amendment and is
20   “presumptively protect[ed]” by the Constitution. Bruen, 142 S.Ct. at 2130.
21          4.      The City of San Jose’s insurance mandate is utterly inconsistent with “the Nation’s
22   historical tradition of firearm regulation.” Bruen, 142 S.Ct. at 2130. To the contrary, as the City’s
23   Mayor highlighted in his own press release, the City of San Jose is “the first city in the United States
24   to enact an ordinance to require gun owners to purchase liability insurance.” San Jose Mayor
25   Statement on Historic Passage of First in the Nation Gun Violence Reduction Ordinance (Jan. 25,
26   2022) (“Liccardo Press Release”) (attached as Exhibit A) (emphasis added)
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1           5.      The City of San Jose’s fee requirement is nothing more than an attempt to impose costs
2    on ordinary American citizens for no reason other than their decision to exercise their basic
3    constitutional rights.
4           6.      The City of San Jose’s ordinance thus flagrantly fails the test set forth in Bruen for
5    assessing burdens on the exercise of the right to bear arms guaranteed by the Second Amendment to
6    the Constitution of the United States just as surely as if the City had required individuals to have
7    “defamation insurance” or to pay a “speech tax” before speaking in the town square or publishing a
8    newspaper.
9           7.      To preserve the safety and core rights under the Constitution of the law-abiding
10   citizens of the City of San Jose, as well as their rights under the California Constitution and the City
11   Charter, this Court must invalidate and prevent Defendants from enforcing the unconstitutional and
12   unlawful Ordinance.
13                                       JURISDICTION AND VENUE
14          8.      This Court has federal question jurisdiction over this case pursuant to 28 U.S.C. § 1331
15   because it arises under the Second and Fourteenth Amendments to the U.S. Constitution and 42
16   U.S.C § 1983. This Court has authority under 28 U.S.C. §§ 2201 and 2202 to grant declaratory relief
17   and other relief, including preliminary and permanent injunctive relief, pursuant to Rule 65 of the
18   Federal Rules of Civil Procedure.
19          9.      Venue is proper in the Northern District of California under 28 U.S.C. § 1391(b)(1)
20   because Defendants are officials of the City of San Jose, which is within the geographical boundaries
21   of the Northern District of California. Defendants are also residents of this State within the meaning
22   of 28 U.S.C. § 1391(c).
23          10.     The Court has personal jurisdiction over the Defendants because the City of San Jose is
24   within the State of California.
25          11.     The California Superior Court for the County of Santa Clara has jurisdiction over the in
26   rem reverse validation action against all persons filed in that court pursuant to California Code of
27   Civil Procedure sections 860 et seq. by Plaintiffs Howard Jarvis Taxpayers Association, et al., which
28   defendant City of San Jose removed to this Court.

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1                                       INTRADISTRICT ASSIGNMENT
2              12.   This action is properly assigned to the San Jose Division, pursuant to Civil L.R. 3-2(e).
3    A substantial part of the events giving rise to the claims occurred in Santa Clara County, California.
4                                                   PARTIES
5              13.   Plaintiff National Association of Gun Rights (“NAGR”) is a non-stock, nonprofit
6    corporation incorporated under the laws of the Commonwealth of Virginia and has its principal place
7    of business in Loveland, Colorado. NAGR is a grassroots organization whose mission is to defend the
8    right to keep and bear arms under the Second Amendment and advance the constitutional right by
9    educating the American people and urging them to action in public policy. NAGR has members who
10   would be subject to the Ordinance within the City of San Jose.
11             14.   Plaintiff Mark Sikes resides in San Jose, California. Sikes legally owns a gun, is not a
12   peace officer, does not have a concealed carry permit, and does not meet the qualifications of CAL.
13   GOV. CODE § 68632 (a) and (b) and, therefore, would be subject to the Ordinance if it were to go into
14   effect.
15             15.   Plaintiffs NAGR and Mark Sikes are referred to collectively herein as “NAGR
16   Plaintiffs.”
17             16.   Plaintiff Howard Jarvis Taxpayers Association (“HJTA”) is a nonprofit public benefit
18   corporation, comprised of over 200,000 California members, organized and existing under the laws of
19   California for the purpose, among others, of engaging in civil litigation on behalf of its members and
20   all California taxpayers to ensure constitutionality in taxation. HJTA has members who reside in the
21   City of San Jose, who legally own firearms, and who are subject to the Annual Gun Harm Reduction
22   Fee that is the subject of this action.
23             17.   Plaintiff Silicon Valley Taxpayers Association, Inc. (“SVTA”) is a nonprofit public
24   benefit corporation, comprised of members who reside in Santa Clara County, organized and existing
25   under the laws of California for the purpose of advocating the reduction of taxes and acting on behalf
26   of its members to achieve its tax reduction goals. SVTA has members who reside in the City of San
27   Jose, who legally own firearms, and who are subject to the Annual Gun Harm Reduction Fee that is
28   the subject of this action.

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1            18.     Plaintiff Silicon Valley Public Accountability Foundation (“SVPAF”) is a nonprofit
2    public benefit corporation, comprised of members who reside in Santa Clara County, organized and
3    existing under the laws of California for the purpose of monitoring the policies and political actions of
4    public officials in Santa Clara County to keep voters informed and residents represented in local
5    decision-making. SVPAF has members who reside in the City of San Jose, who legally own firearms,
6    and who are subject to the Annual Gun Harm Reduction Fee that is the subject of this action.
7            19.     Plaintiff Jim Barry is a resident of San Jose who legally owns a firearm and is subject to
8    the Annual Gun Harm Reduction Fee that is the subject of this action.
9            20.     Plaintiff George Arrington is a resident of San Jose who legally owns a firearm and is
10   subject to the Annual Gun Harm Reduction Fee that is the subject of this action.
11           21.     Plaintiffs HVTA, SVTA, SVPAF, Jim Barry and George Arrington are collectively
12   referred to herein as “Howard Jarvis Plaintiffs.”
13           22.     Defendant City of San Jose is a municipal corporation within the County of Santa
14   Clara, California. 1
15           23.     Defendant Jennifer Maguire (“Maguire”) is the current and active City Manager for the
16   City of San Jose. San Jose’s Charter states that the City Manager is the “Chief Administrative Officer
17   and head of the administrative branch of the City government.” San Jose City Charter §§ 502, 701.
18   “The City Manager shall be responsible for the faithful execution of all laws, provisions of this
19   Charter, and acts of the Council which are subject to enforcement by the City Manager or by the
20   officers who are under the City Manager’s direction and supervision.” Id., § 701(d). Additionally, the
21   City Manager is directly identified with enforcement authority throughout the Ordinance. Ordinance
22   §§ 10.32.205, 210, 215, 235, & 250.
23           24.     Defendant San Jose City Council (the “City Council”) is vested with authority under
24   Article IV of the City of San Jose’s City Charter (Ex. A). The Ordinance vests the City Council with
25   authority to “set forth the schedule of fees and charges established by resolution of the City Council”
26   and to “set forth…the schedule of fines” for those who violate the ordinance. Id., § 10.32.215;
27
28   1
      See City of San Jose City Charter, as amended (Feb. 2021),
     https://www.sanjoseca.gov/home/showpublisheddocument/13907/638058439112030000
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1    10.32.250; 10.32.240.
2           25.     Defendants All Persons Interested in the matter of San Jose Ordinance No. 30716,
3    establishing an Annual Gun Harm Reduction Fee will be bound by any validation judgment issued in
4    this case pursuant to California Code of Civil Procedure section 870. Jurisdiction by the California
5    court over All Persons was obtained by published summons pursuant to Code of Civil Procedure
6    sections 861 and 862.
7                                          STATEMENT OF FACTS
8                                         Enactment of the Ordinance
9           26.     On June 29, 2021, the City Council directed San Jose City Attorney Nora Frimann “to
10   return to Council with an ordinance for Council consideration that would require every gun owner
11   residing in the City of San José, with certain exceptions, to obtain and maintain a City-issued
12   document evincing payment of an annual fee, and attestation of insurance coverage for unintentional
13   firearm-related death, injury, or property damage.” Frimann Mem. re Gun Harm Reduction Ord. at 1
14   (Jan. 14, 202, 1 (“City Attorney Mem.”) (a true and correct copy is attached as Exhibit B). Plaintiff
15   NAGR immediately sent the City a cease and desist letter warning that the proposed ordinance was
16   unconstitutional. Ltr. from H. Dhillon and D. Warrington to San Jose City Council, (July 14, 2021) (a
17   true and correct copy is attached as Exhibit C).
18          27.     On January 14, 2022, in advance of the City Council’s January 25 meeting, the City
19   Attorney issued a memorandum in compliance with the City Council’s directions that recommended
20   the Council “[c]onsider approving an ordinance amending Title 10 of the San José Municipal Code to
21   add Part 6 to Chapter 10.32 to reduce gun harm by: (a) requiring gun owners to obtain and maintain
22   liability insurance; and (b) authorizing a fee to apply to gun harm reduction programs.” City Attorney
23   Mem. at 1. Under a section addressing penalties for noncompliance, the City Attorney stated that
24   “[f]ailure to comply shall constitute a civil violation subjecting the owner to the temporary or
25   permanent seizure of the gun, and under specified circumstances, a fine.” Id. at 2.
26          28.     On January 21, 2022, Mayor Liccardo, Vice Mayor Jones, Councilmember Cohen, and
27   Councilmember Carrasco issued “Directions” to the City Council, including to “[a]pprove the
28   proposed ordinance,” with certain modifications. Mayor’s Mem. to City Council at 2 (Jan. 21, 2022) (a

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1    true and correct copy is attached as Exhibit D). The Mayor’s Memorandum also noted that “Members
2    of the California legislature are exploring bills to have law enforcement agencies seize guns as a
3    sanction for violations of local gun regulations, with subsequent restoration of ownership as required
4    by constitutional due process.” Id. at 4 (emphasis added).
5           29.     On January 25, 2022, the City Council approved the ordinance through two votes
6    regarding various changes. Tuesday, January 25, 2022 City Council Meeting Synopsis at 13 (a true
7    and correct copy is attached as Exhibit E).
8           30.     The Ordinance requires any San Jose resident who owns a firearm to “obtain and
9    continuously maintain in full force and effect a homeowner’s, renter’s or gun liability insurance policy
10   ... specifically covering losses or damages resulting from any accidental use of the Firearm.” (San Jose
11   Muni. Code § 10.32.210(A).).
12          31.     The Ordinance also requires San Jose gun owners to pay an “Annual Gun Harm
13   Reduction Fee” to a “Designated Nonprofit Organization” that the City Manager will designate from
14   time to time. The amount of the annual fee “will be set forth in the schedule of fees and charges
15   established by resolution of the City Council.” (Muni. Code § 10.32.215.) In the 2022/2023 schedule of
16   fees, the Gun Harm Reduction Fee is set at $25 per year.
17          32.     “Designated Nonprofit Organization” is defined in the Ordinance as “an entity that
18   qualifies as a nonprofit corporation under the federal internal revenue code and is designated pursuant
19   to the City Manager’s authority under Section 10.32.235,” provided that “[n]o City official or
20   employee shall sit on the board of directors of the Designated Nonprofit Organization.” (Muni. Code §
21   10.32.205(B).) Section 10.32.235, in subdivision (A)(2), delegates authority to the City Manager for
22   “[d]esignation of the nonprofit organization that will receive the Gun Harm Reduction Fee.”
23          33.     The Ordinance provides basic guidelines for expenditure of the fee by the nonprofit
24   organization. It says, “expenditures may include, but are not necessarily limited to the following: (1)
25   Suicide prevention services or programs; (2) Violence reduction or gender based violence services or
26   programs; (3) Addiction intervention and substance abuse treatment; (4) Mental health services related
27   to gun violence; or (5) Firearms safety education or training.” (Muni. Code § 10.32.220(A).).
28          34.     The Ordinance further states, “The Designated Nonprofit Organization shall spend

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1    every dollar generated from the Gun Harm Reduction Fee, minus administrative expenses, exclusively
2    for programs and initiatives designed to (a) reduce the risk or likelihood of harm from the use of
3    firearms in the City of San Jose, and (b) mitigate the risk of physical harm or financial, civil, or
4    criminal liability that a San Jose firearm owner or her family will incur through her possession of
5    firearms.” (Muni. Code § 10.32.220(C).). Except for these basic guidelines, the Ordinance provides
6    that “the City shall not specifically direct how the monies from the Gun Harm Reduction Fee are
7    expended.” (Muni. Code § 10.32.220(C).)
8           35.     A gun owner’s failure to pay the required fee to the designated private organization is
9    punishable by a fine (Muni. Code § 10.32.240(A)) and confiscation of the owner’s firearms (Muni.
10   Code § 10.32.245).
11          36.     The Mayor immediately issued a press release the night of the vote, in which he
12   boasted that “Tonight San José became the first city in the United States to enact an ordinance to
13   require gun owners to purchase liability insurance, and to invest funds generated from fees paid by
14   gun owners into evidence-based initiatives to reduce gun violence and gun harm.” Liccardo Press
15   (emphasis added).
16          37.     Within 24 hours, articles were published about San Jose enacting an unprecedented
17   regulation of gun ownership, including in the San Francisco Chronicle and the Los Angeles Times.
18   See Lauren Hernández, Gun Owners In San Jose Must Buy Liability Insurance Under Newly Passed
19   First-In-The-Nation Law, SAN FRANCISCO CHRONICLE (Jan. 26, 2022)
20   https://www.sfchronicle.com/bayarea/article/Gun-owners-in-San-Jose-must-buy-liability-
21   16804951.php (a true and correct copy is attached as Exhibit F) (“The San Jose City Council adopted
22   a measure Tuesday night requiring gun owners in the South Bay city to buy liability insurance for
23   their firearms, city officials said. The ordinance – which city officials said marks the first such law
24   for a city, state, or other jurisdiction in the country . . . .” (emphasis added)); Olga R. Rodriguez and
25   Juliet Williams, San Jose Approves First Law In U.S. Requiring Gun Owners To Have Insurance, LOS
26   ANGELES TIMES (Jan. 25, 2022), https://www.latimes.com/california/story/2022-01-25/san-jose-gun-
27   liability-insurance (a true and correct copy is attached as Exhibit G) (“The city of San Jose voted
28   Tuesday night to require gun owners to carry liability insurance in what’s believed to be the first

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1    measure of its kind in the United States. The San Jose City Council overwhelmingly approved the
2    measure despite opposition from some gun owners who said it would violate their 2nd Amendment
3    rights.” (emphasis added)).
4           38.     On February 8, 2022, the City Council voted a second time to approve the Ordinance.
5           39.     On October 21, 2022, City Manager Regulations for the Ordinance went into effect
6    (attached as Exhibit H ).
7           40.     Section 2.1 of the City Manager Regulations provides “Firearm owners residing in San
8    Jose who are required by SJMC section 10.32.210 to obtain liability insurance shall obtain such
9    insurance by January 1, 2023.”
10          41.     Fines for violations of the Ordinance begin at $250 for a first offense and increase to
11   $500 for a second offense and $1000 for a third offense within a year.
12          42.     Section 2.2 of the Regulations state “[t]his version of the City Manager Regulations for
13   the Reduction of Gun Harm Ordinance does not set a payment date; a payment date will be
14   established in an amended version of these regulations to be issued in the future. Individuals covered
15   by the Gun Harm Reduction Fee are not required to pay the fee until a payment date is set through the
16   amended regulations.
17          43.     With respect to the purported Gun Harm Reduction Fee, the City provided to the
18   District Court an Implementation Timeline. Per the Timeline, “issu[ing] a Request for Proposals to
19   procure the designated nonprofit” would not occur until September 2022. The Timeline projected
20   “December 2022” as the date by which the City Manager would “finalize contract with designated
21   nonprofit.”
22          44.     The District Court granted the City’s motion to dismiss plaintiffs’ claims as unripe,
23   with leave to amend the complaint by February 2, 2023, based on the Timeline showing that the City
24   Manager would issue a Request for Proposals in September, then select a nonprofit from among the
25   proposals received and finalize a contract by the end of December.
26          45.     On January 6, 2023, the City filed a Status Report in which it represented that the City
27   Manager “has now completed all relevant tasks in the Implementation Timeline, except for the task
28   listed as ‘Finalize contract with designated nonprofit’ with an estimated completion date of December

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1    2022.” (01/06/23 Status Report, ECF #85 at 3:6).
2           46.     Yet the City Manager had not “issu[ed] a Request for Proposals to procure the
3    designated nonprofit” which, according to the Timeline, was supposed to be done in September.
4    Instead, the City Manager issued something else – a “Request for Information.” The Status Report
5    explained the difference: “RFIs are used by the City to solicit information about potential solutions
6    and do not typically result in a contract award, whereas RFPs are used by the City to gather responses
7    and pricing from potential contractors to deliver a specific City defined scope of work, with the
8    purpose of awarding one or more contracts at the end of the RFP process.” (ECF #85 at 3:25.).
9           47.     The Status Report informed the Court that no qualified organizations responded to the
10   City Manager's Request for Information (id. at 3:13.) so the City Manager “has decided that the best
11   approach to progress implementation at this point is to ... publish a full Request for Proposals ....
12   Unfortunately, the lack of satisfactory RFI responses and the upcoming RFP process will delay the
13   steps necessary for full implementation.” (Id. at 3:20.) The Status Report offered no date by which
14   these overdue “steps necessary for full implementation” might be completed.
15          48.     Despite the City’s delay in designating a nonprofit, and its equivocation on the ultimate
16   amount of the fee, this controversy is ripe because a fee of $25 has been imposed for the 2022/2023
17   fiscal year and, although the City is not currently enforcing proof of payment (because there is no
18   nonprofit to accept payment), the City has not waived the fee. The the 2022/2023 fee apparently will
19   be due and payable once a nonprofit has been designated.
20          49.     This controversy is ripe because, regardless of the ultimate identity of the nonprofit
21   organization, the City’s Ordinance requires the nonprofit to expend the fee providing services such as
22   suicide prevention, gender based violence prevention, addiction intervention and substance abuse
23   treatment, and mental health counseling for victims of gun violence, which services will be available
24   to the general public, not just gun owners, and which gun owners are not required to, and may not
25   choose to, utilize. Because its revenue will fund public services, not services requested by each payer,
26   the “fee” is a tax under California law.
27                                       The Burdens of the Ordinance
28           50.    The Ordinance will require an estimated 50,000-55,000 gun-owning San Jose Citizens,

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1    minus a few exceptions, to obtain an insurance policy and pay annual fees simply to exercise the
2    same constitutional right to own a gun that existed prior to this ordinance. Liccardo Mem. re Gun
3    Harm Reduction Ord. (Jan., 19, 2022) (a true and accurate copy is attached as Exhibit I).
4             51.   The Ordinance states that “[t]o the extent allowed by law, the Firearm or Firearms of a
5    person that [sic] is not in compliance with [the Ordinance] may be impounded subject to a due
6    process hearing.” Ordinance § 10.32.245. Further, “[a]ny violation” of the Ordinance is “punishable
7    by an administrative citation,” “fines for violations,” and “all other civil and administrative remedies
8    available to the City.” Id., § 10.32.240; see also City Attorney Mem. at 2 (“Failure to comply [with
9    the Ordinance] shall constitute a civil violation subjecting the owner to the temporary or permanent
10   seizure of the gun, and under specified circumstances, a fine.”). At present, the City has no authority
11   to seize a person’s gun for violating the Ordinance, but “[m]embers of the California legislature are
12   exploring bills to have law enforcement agencies seize guns as a sanction for violations of local gun
13   regulations . . .” Mayor’s Mem. to City Council, Jan. 21, 2022.
14            52.   The Ordinance targets guns in the home. It does not apply to people who have a license
15   to carry a concealed weapon. Id., § 10.32.225. Additionally, absent a concealed carry permit, there is
16   no other way to carry a firearm in San Jose. See CAL. PENAL CODE §§ 25850, 26150, 26155, 26350,
17   26400.
18                                           Insurance Requirement
19            53.   The Ordinance conditions the constitutional right to own a gun on the payment of an
20   unstated amount for insurance. It states that “A person who resides in the City of San Jose and owns
21   or possesses a Firearm in the City shall obtain and continuously maintain in full force and effect a
22   homeowner’s, renter’s or gun liability insurance policy…specifically covering losses or damages
23   resulting from any accidental use of the Firearm, including but not limited to death, injury, or property
24   damage.” Ordinance § 10.32.210.A.
25            54.   This requirement does not contain any information about minimum insurance coverage
26   thresholds or premiums. Thus, the City of San Jose has conditioned the constitutional right of its law-
27   abiding citizens to own a gun on an unstated, unregulated price to be set by an industry of for-profit
28   private sector corporations.

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1           55.       Moreover, the City’s findings did not include any evidence that there will always be
2    insurance policies “specifically covering losses or damages resulting from any accidental use of”
3    firearms, or what any such policy will cost. See Ordinance § 10.32.200.B.10 (“[i]njuries from
4    unintentional shootings . . . are generally insurable” (emphasis added)).
5           56.       The Ordinance does nothing to ensure that insurance companies will provide policies
6    “specifically covering” losses arising from accidental firearm use for any and every citizen who is
7    subject to the Ordinance, which means the City’s insurance mandate would establish a precondition to
8    gun ownership that empowers for-profit insurance companies (with or without government pressure)
9    to prohibit persons from exercising their Second Amendment rights.
10                                                Fee Requirement
11          57.       The second primary component of the Ordinance is the imposition of a “fee” for
12   owning a gun. The Ordinance states that “A person who resides in the City and owns or possesses a
13   Firearm in the City shall pay an Annual Gun Harm Reduction Fee to the Designated Nonprofit
14   Organization each year.” Ordinance § 10.32.215. No fee amount is specified, nor is there criteria for
15   how to calculate the fee. Id. Rather, Defendant City Council reserved the right for itself to determine
16   the fee amount at a later date. Id. This fee is currently set at an amount of $25, but is subject to
17   change. Memorandum from Sarah Zarate to San Jose Mayor and City Council Re: Gun Harm
18   Reduction Ordinance Update (July 1, 2022), available at sanjoseca.gov/home/showpublished
19   document/87508.
20          58.       The destination of the money is to a still undetermined nonprofit. That determination is
21   delegated to Defendant Maguire. Id., §§ 10.32.205.B; 10.32.220; see also City Manager Regulations
22   at § 2-2 (“This version of the City Manager Regulations for the Reduction of Gun Harm Ordinance
23   does not set a payment date; a payment date will be established by an amended version of these
24   regulations to be issued in the future.”).
25          59.       The nonprofit fee in the Ordinance is not to defray the City’s administrative costs.
26   Rather, “all monies…shall be expended by the Designated Nonprofit Organization….” Id.,
27   § 10.32.220.A.
28          60.       The only selection criteria for the Designated Nonprofit Organization is that it

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1    “provid[e] services to residents of the City that own or possess a Firearm in the City or to members of
2    their household, or to those with whom they have a close familial or intimate relationship.” These
3    services “include, but are not necessarily limited to” suicide prevention services or programs, violence
4    reduction or gender based violence services or programs, mental health services related to gun
5    violence, firearms safety education or training, or addiction intervention and substance abuse
6    treatment. Id., § 10.32.220.A (emphasis added).
7            61.    ”[T]he City shall not specifically direct how the monies from the Gun Harm Reduction
8    Fee are expended” by the nonprofit. Id., § 10.32.220.C.
9            62.    The fee thus functions to compel gun owners to give their money to a government
10   approved nonprofit to spend on vaguely specified and/or unspecified programs at the nonprofit’s
11   discretion, none of which are services that the City is obligated to perform. While the nonprofit must
12   make these services available to “residents of the City that own or possess a Firearm,” it must also
13   make those services available to non-gun owning “members of their household,” and is nowhere
14   precluded from making those services available to the general public. Indeed, the nature of many of
15   the services listed in the Ordinance (suicide prevention, gender based violence prevention, addiction
16   intervention and substance abuse treatment, mental health counseling for victims of gun violence, and
17   gun safety “education”) covers a much wider population than just gun owners. This compelled
18   donation by gun owners to one City favored nonprofit to provide public “education,” which may
19   include advocating about the dangers of gun ownership, and other services with little to no connection
20   to the payer’s owernship of a gun and little or no municipal oversight is not only obnoxious to the
21   Constitution, it is an invitation to corruption and waste.
22           63.    By its plain terms, this fee and insurance requirement do not compensate the City to
23   cover reasonable costs of governmental activity, because they are not for government activity. Further,
24   the manner in which those costs are allocated to gun owners do not bear a fair or reasonable
25   relationship to the gun owner’s burdens on, or benefits received from, the City’s governmental
26   activity.
27           64.    Indeed, the Ordinance also authorizes a separate fee just to recoup the costs associated
28

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1    in administering the Ordinance. Id. § 10.32.250.
2           65.     Accordingly, as discussed further below, the “Annual Gun Harm Reduction Fee”—
3    unconnected to the cost of City services and for unspecified programs outside of the City’s control—
4    and the mandatory insurance requirement backed by the threat of fines are nothing more than costs
5    that the City is imposing on the exercise of a constitutional right.
6                                            The Second Amendment
7           66.     The Second Amendment to the United States Constitution states that “[a] well
8    regulated Militia, being necessary to the security of a free State, the right of the people to keep and
9    bear Arms, shall not be infringed.” U.S. Const., amend. II.
10          67.     “[I]t is clear that the Framers and ratifiers of the Fourteenth Amendment counted the
11   right to keep and bear arms among those fundamental rights necessary to our system of ordered
12   liberty.” McDonald v. City of Chicago, Ill., 561 U.S. 742, 778 (2010).
13          68.     Consistent with this protection, in Bruen the Supreme Court held “when the Second
14   Amendment’s plain text covers an individual’s conduct, the Constitution presumptively protects that
15   conduct.” Bruen, 142 S.Ct. at 2126.
16          69.     “As [the Supreme Court] explained in Heller, the ‘texual elements’ of the Second
17   Amendment’s operative clause . . . ‘guarantee the individual right to possess and carry weapons in
18   case of confrontation.’” Bruen, 142 S.Ct. at 2134 (quoting Heller, 554 U.S. at 592). Thus, in Heller
19   and McDonald, the Supreme Court “recognized that the Second and Fourteenth Amendments protect
20   the right of an ordinary law-abiding citizen to possesses a handgun in the home for self-defense.”
21   Bruen, 142 S.Ct. at 2122.
22          70.     “[T]he need for armed self-defense is perhaps ‘most acute’ in the home,” Bruen, 142
23   S.Ct. at 2135 (quoting Heller, 544 U.S. at 628) but also extends to “a right to ‘bear’ arms in public for
24   self-defence.” Id.
25          71.     Thus, NAGR Plaintiffs assert that the Ordinance burdens an activity that falls within
26   the plain text of the Second Amendment: the right to keep and bear arms in the home for self-defense
27   and the right to bear arms in public for self-defense, including when transporting firearms from one
28   location to another.

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1           72.     As the Supreme Court has noted, “Heller and McDonald expressly rejected the
2    application of any ‘judge-empowering interest-balancing inquiry that asks whether the statute burdens
3    a protected interest in a way or to an extent that is out of proportion to the statute’s salutary effects
4    upon other important governmental interests.’” Bruen, 142 S.Ct. at 2129 (quoting Heller, 554 U.S. at
5    634) (other citations omitted). Thus, “[t]he Second Amendment ‘is the very product of an interest
6    balancing by the people’ and it ‘surely elevates above all other interests the right of law-abiding,
7    responsible citizens to use arms’ for self-defense.” Bruen, 142 S.Ct. at 2131 (quoting Heller, 544 U.S.
8    at 635).
9           73.     Accordingly, government may not justify regulations that infringe upon the Second
10   Amendment by reference to some “important interest” or balancing test; “[o]nly if a firearm regulation
11   is consistent with this Nation’s historical tradition may a court conclude that the individual’s conduct
12   falls outside of the Second Amendment’s ‘unqualified command.’” Bruen, 142 S.Ct. at 2126 (quoting
13   Konigsberg v. State Bar of Cal., 366 U.S. 36, 50 n.10 (1961)).
14          74.     The problem of gun violence in densely populated communities is not new. Adopting
15   an insurance requirement and/or fee for all gun owners is a solution “that the Founders themselves
16   could have adopted to confront that problem,” Bruen, 142 S.Ct. at 2131, but in fact did not adopt.
17          75.     To the contrary, the City and its leaders have emphasized the novelty of the City’s
18   insurance and fee requirements.
19          76.     Local governments, including the City of San Jose, are bound by the Second
20   Amendment because of the Fourteenth Amendment. See Bruen, 142 S.Ct. 2137 (“Strictly speaking,
21   New York is bound to respect the right to keep and bear arms because of the Fourteenth
22   Amendment.”); McDonald, 561 U.S. at 790; Nordyke v. King, 681 F.3d 1041, 1044 (9th Cir. 2012).
23          77.     Second Amendment rights are not subject to a free floating balancing test or judged
24   against the “important interests” identified by the government.
25          78.     The Ordinance cites a number of statistics about gun violence, but provides no
26   examples of how it is consistent with this Nation’s historical tradition of firearms ownership. To the
27   contrary, the Mayor and other sources, apparently relying on city officials, have emphasized the
28   unique, “first of its kind” nature of the insurance requirement.

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1           79.     Although the Supreme Court in Bruen noted that there were past laws that required
2    individuals “reasonably accused of intending to injure another or breach the peace” or “threatening to
3    do harm” to obtain a bond in order to carry a gun in public, see Bruen at 2120, 2148, there is no
4    historical tradition of requiring every gun owner to purchase insurance for the mere ownership of
5    guns, even if the guns stay locked within the home and are never carried in public.
6           80.     Moreover, while state actors may collect a fee to “meet the expense incident to the
7    administration of the act and to the maintenance of public order in the matter licensed,” Cox v. New
8    Hampshire, 312 U.S. 569 (1941), they “may not impose a charge for the enjoyment of a right granted
9    by the federal constitution.” Murdock v. Pennsylvania, 319 U.S. 105, 113 (1943). In the Second
10   Amendment context, at least one Court of Appeals has stated “imposing fees on the exercise of
11   constitutional rights is permissible when the fees are designed to defray (and do not exceed) the
12   administrative costs of regulating the protected activity.” Kwong v. Bloomberg, 723 F.3d 160, 165
13   (2nd Cir. 2013).
14          81.     Neither the insurance premium nor the fee to be paid to the City’s chosen nonprofit are
15   designed to defray the City’s administrative costs. Instead, they impose a charge simply for the
16   enjoyment of a right guaranteed by the federal constitution.
17          82.     In sum, the NAGR Plaintiffs assert that the insurance requirement in the Ordinance
18   violates the Second Amendment, as incorporated by the Fourteenth Amendment, by placing a burden
19   on the right to keep and bear arms that is inconsistent with this Nation’s history and tradition of
20   firearms regulation.
21          83.     Accordingly, the Plaintiffs request that this court issue preliminary and permanent
22   injunctions preventing Defendants from enforcing the insurance mandate, fee requirement, and their
23   associated enforcement provisions of Ordinance pursuant to 42 U.S.C. § 1983, declare the insurance
24   mandate, fee provisions, and associated enforcement provisions of the Ordinance unconstitutional
25   under the Constitution of the United States, issue nominal damages, and order any other relief this
26   Court deems necessary and proper.
27
28

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1                         FIRST CLAIM FOR RELIEF (NAGR PLAINTIFFS ONLY)
                    Violation of the Second and Fourteenth Amendments (42 U.S.C. § 1983)
2
                  The Ordinance requiring owners of guns to purchase insurance and pay a fee
3              violates the Second and Fourteenth Amendments to the United States Constitution.

4             84.   NAGR Plaintiffs incorporate by reference and re-allege each of the Paragraphs set forth

5    above.

6             85.   The Second Amendment of the United States Constitution guarantees “the right of the

7    people to keep and bear arms” and that right “shall not be infringed.” U.S. CONST., amend. II.

8             86.   In a Second Amendment inquiry, a Court asks whether the “Second Amendment’s
9    plain text covers an individual’s conduct.” Bruen, 142 S.Ct. at 2126. If so, “government must
10   demonstrate that the regulation is consistent with this Nation’s historical tradition of firearms
11   regulation.” Id.
12            87.   The Ordinance’s insurance and/or fee requirements imposes a cost on Plaintiffs and all
13   gun owners merely for choosing to keep and bear arms in the home. Thus, the Ordinance places a
14
     burden on conduct central to the plain text of the Second Amendment.
15
              88.   The City has not (and cannot) demonstrated that the Ordinance is consistent with this
16
     Nation’s historical tradition of firearms regulation. To the contrary, the City has emphasized the new
17
     and unique nature of the insurance and fee provisions.
18
              89.   Thus, the insurance and fee provisions of the Ordinance violate the Second and
19
     Fourteenth Amendments to the Constitution of the United States.
20
              90.   Plaintiffs have no adequate remedy at law and will suffer serious and irreparable harm
21
     to their constitutional rights unless Defendants are enjoined from implementing and enforcing the
22
     Ordinance.
23
              91.   Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to preliminary and
24
     permanent injunctive relief invalidating and restraining enforcement of the Ordinance as well as
25
     declaratory relief.
26
              92.   Plaintiffs found it necessary to engage the services of private counsel to vindicate their
27
     rights under the law. Plaintiffs are therefore entitled to an award of attorneys’ fees pursuant to 42
28

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1    U.S.C. § 1988.
2                          SECOND CLAIM FOR RELIEF (ALL PLAINTIFFS)
                  Violation of the First and Fourteenth Amendments (42 U.S.C. § 1983)
3
         The Ordinance requiring owners to pay a fee to a nonprofit organization to exercise their
4         constitutional rights violates the First and Fourteenth Amendments to the United States
                                                  Constitution.
5
            93.     Plaintiffs repeat the allegations above as though fully set forth herein.
6
            94.     The First Amendment of the United States Constitution, made applicable to the states
7
     through the Fourteenth Amendment, provides, “Congress shall make no law … abridging the
8
     freedom of speech ... or the right of the people peaceably to assemble.”
9
            95.     Freedom of speech includes the right to not speak and the right to not be forced by the
10
     government to support someone else’s speech, particularly when you disagree with their message.
11
     The right to peaceably assemble includes the right to associate with others around a common cause
12
     and the right to not be forced by the government to associate with or support someone else’s
13
     organization, particularly a group with which you would not voluntarily assemble.
14
            96.     By requiring San Jose gun owners to pay an Annual Gun Harm Reduction Fee to a
15
     private nonprofit organization that the City Manager will designate, the Ordinance forces San Jose
16
     gun owners to associate with or support that private group and to fund their message, in violation of
17
     the gun owners’ rights of free speech and association under the United States Constitution.
18
            97.     Plaintiffs have no adequate remedy at law and will suffer serious and irreparable harm
19
     to their constitutional rights unless Defendants are enjoined from implementing and enforcing the fee
20
     provisions of the Ordinance.
21
            98.     Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to preliminary and
22
     permanent injunctive relief invalidating and restraining enforcement of the Ordinance as well as
23
     declaratory relief.
24
            99.     Plaintiffs found it necessary to engage the services of private counsel to vindicate their
25
     rights under the law. Plaintiffs are therefore entitled to an award of attorneys’ fees pursuant to 42
26
     U.S.C. § 1988.
27
28

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1              THIRD CLAIM FOR RELIEF (ALL PLAINTIFFS AS DESCRIBED BELOW)
                            Declaratory Judgment Act, 28 U.S.C. §§ 2201, 2202
2
                                 Plaintiffs are entitled to declaratory relief.
3
              100.   Plaintiffs incorporate by reference and re-allege herein each of the Paragraphs set forth
4
     above.
5
6             101.   To the extent that each of the claims above have not already established a remedy,

7    Plaintiffs are entitled to declaratory relief holding that the Ordinance violates Plaintiffs’ individual
8
     rights under the Constitution of the United States and is otherwise invalid, are entitled to preliminary
9
     and permanent injunctions preventing the enforcement of the Ordinance, nominal damages, and
10
11   further relief that this Court deems necessary or proper.

12            102.   NAGR Plaintiffs are entitled to declaratory relief with respect to both the insurance
13   mandate and the fee. Based on their claims above, Howard Jarvis Plaintiffs are entitled to declaratory
14
     relief based on the First Amendment with respect to the fee provision of the Ordinance.
15
                     FOURTH CLAIM FOR RELIEF (HOWARD JARVIS PLAINTIFFS ONLY)
16                          Violation of California Rights of Speech and Association
17
              103.   Except as specified above, the Howard Jarvis Plaintiffs repeat the allegations contained
18
     in the Paragraphs above as though fully set forth herein.
19
20            104.   Article I, sections 2 and 3 of the California Constitution provide, “A law may not

21   restrain or abridge liberty of speech,” and “The people have the right to ... assemble freely to consult
22
     for the common good.”
23
              105.   Liberty of speech includes the right to not speak and the right to not be forced by the
24
     government to support someone else’s speech, particularly when you disagree with their message. The
25
26   right to assemble freely includes the right to associate with others around a common cause and the

27   right to not be forced by the government to associate with or support someone else’s organization,
28
     particularly a group with which you would not voluntarily assemble.
                                                         18
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            106.    By requiring San Jose gun owners to pay an Annual Gun Harm Reduction Fee to a
1
2    private nonprofit organization that the City Manager will designate, the Ordinance forces San Jose

3    gun owners to associate with or support that private group and to fund their message, in violation of
4
     the gun owners’ rights of free speech and association under the California Constitution.
5
                FIFTH CLAIM FOR RELIEF (HOWARD JARVIS PLAINTIFFS ONLY)
6                       Violation of Doctrine of Unconstitutional Conditions
7
            107.    Except as set forth above, the Howard Jarvis Plaintiffs repeat the allegations contained
8
     in the Paragraphs above as though fully set forth herein.
9
            108.    The Second Amendment of the United States Constitution provides, “the right of the
10
11   people to keep and bear arms, shall not be infringed.”

12          109.    Howard Jarvis Plaintiffs gun owners wish to continue exercising their rights under the
13
     United States and California constitutions to protect their property and personal safety by keeping and
14
     bearing arms. However, the Ordinance has placed a condition on the continued exercise of those rights:
15
16   any gun owner who fails to pay the required fee to the designated private organization may be forced to

17   surrender his firearms to the City. (Muni. Code § 10.32.245.)
18          110.    The City has represented to the District Court that section 10.32.245 does not currently
19
     threaten gun owners with confiscation of their firearms because it reads, “To the extent allowed by
20
     law, the Firearm or Firearms of a person that is not in compliance with this Part may be impounded
21
22   subject to a due process hearing” and, according to the City, the law does not currently authorize city

23   police to confiscate a firearm with or without a due process hearing.
24
            111.    The Howard Jarvis Plaintiffs believe that representation is incorrect. City police are
25
     authorized by law to, and often do, confiscate firearms when carried or used in violation of the law. If
26
     a student brings a firearm to school, if someone is carrying a firearm in public without a CCW permit,
27
28   if someone with a CCW permit is carrying a firearm while intoxicated, if someone purchases a firearm

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     on the street without going through a federally licensed dealer, if someone discharges a firearm in the
1
2    air on New Year’s Eve, and for a host of other reasons, city police are authorized to, and often do,

3    confiscate firearms when carried or used in violation of the law.
4
             112.    The City’s Ordinance makes it a violation of the law to own a gun in the City of San
5
     Jose unless you timely pay the annual Gun Harm Reduction Fee. San Jose Municipal Code section
6
7    1.08.010 provides, “No person shall violate any provision or fail to comply with any of the

8    requirements of this Code or of any other ordinance of the city. Any person violating any of the
9    provisions or failing to comply with any of the mandatory requirements of this Code or of any city
10
     ordinance, other than administrative provisions thereof, shall be guilty of a misdemeanor, unless the
11
     violation of such provision is designated as an infraction or is a parking violation. The Code provisions
12
13   for which a violation is an infraction are set forth in Section 1.08.020. The Code provisions for which a

14   violation is a parking violation are set forth in Section 1.08.025.” Possessing a gun without paying the
15   fee is not an infraction. It is a misdemeanor violation of the law, and city police can confiscate a gun
16
     that is kept or carried in violation of the law.
17
             113.    Howard Jarvis Plaintiffs gun owners’ right to keep a gun in their home for protection is
18
19   “inalienable.” It is not a right granted by the City of San Jose that can be withheld or revoked by the

20   City if gun owners do not comply with conditions contrived by the City. Under the doctrine of
21
     unconstitutional conditions, the City can no more charge a fee to own a gun than it could charge a fee
22
     to own a Bible.
23
24               SIXTH CLAIM FOR RELIEF (HOWARD JARVIS PLAINTIFFS ONLY)
                               Special Tax Lacking Voter Approval
25
             114.    Except as set forth above, the Howard Jarvis Plaintiffs repeat the allegations contained
26
     in the Paragraphs above as though fully set forth herein.
27
28           115.    The Annual Gun Harm Reduction Fee is imposed by the City of San Jose.

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             116.    The Annual Gun Harm Reduction Fee is a compulsory exaction.
1
2            117.    Article XIII C, section 1(e) of the California Constitution defines a “tax” as “any levy,

3    charge, or exaction of any kind imposed by a local government” unless it fits one of seven limited
4
     exceptions.
5
             118.    Although labeled a “fee” by the City, the Annual Gun Harm Reduction Fee does not
6
7    qualify for any exception from the definition of a “tax” enumerated in article XIII C, section 1(e).

8    Therefore it is a tax.
9            119.    Taxes are either “general taxes” or “special taxes.” A “special tax” is “any tax imposed
10
     for specific purposes.” (Cal. Const., art. XIII C, § 1(d).) The Annual Gun Harm Reduction Fee is
11
     imposed ostensibly for the purpose of reducing gun harm. Therefore, it is a special tax.
12
13           120.    Article XIII C, section 2(d) of the California Constitution provides, “No local

14   government may impose, extend, or increase any special tax unless and until that tax is submitted to
15   the electorate and approved by a two-thirds vote.”
16
             121.    The Annual Gun Harm Reduction Fee was not submitted to the electorate
17
     or approved by a two-thirds vote. The fes is therefore invalid.
18
19                                    SEVENTH CLAIM FOR RELIEF
                                  Unconstitutional Delegation of Power to Tax
20
21           122.    Except as set forth above, the Howard Jarvis Plaintiffs repeat the allegations contained

22   in the Paragraphs above as though fully set forth herein.

23           123.    Only the government possesses the power to tax.

24           124.    The power to tax includes the power to collect taxes and appropriate tax revenues.

25           125.    Under the Ordinance, the Annual Gun Harm Reduction Fee will be collected by the

26   private nonprofit organization that the City Manager will designate. That revenue will not be remitted
     to the City, but will be appropriated by the private organization. San Jose Municipal Code section
27
     10.32.220(C) states, “The Designated Nonprofit Organization shall spend every dollar generated from
28

                                                          21
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1    the Gun Harm Reduction Fee,” and “the City shall not specifically direct how the monies from the
2    Gun Harm Reduction Fee are expended.”

3           126.    Under article XIII, section 31 of the California Constitution, the power to tax may not

4    be granted to a private entity. It provides, “The power to tax may not be surrendered or suspended by

5    grant or contract.” Similarly, article XI, section 11 prohibits the delegation of local powers to private

6    entities. It prohibits “delegat[ing] to a private person or body power to make, control, appropriate,

7    supervise, or interfere with county or municipal corporation improvements, money, or property, or to

8    levy taxes or assessments, or perform municipal functions.”
            127.    The Ordinance unconstitutionally delegates some of the City’s power to tax
9
10   and appropriate tax revenues to a private organization, not answerable to the voters,

11   that the City Manager will designate.

12                                           PRAYER FOR RELIEF

13          WHEREFORE, Plaintiffs pray, on behalf of themselves and their members where applicable,

14   for the following:

15          A.      Preliminary and permanent injunctions enjoining Defendants and all successors in

16                  office from enforcing the insurance mandate, fee requirement, and related enforcement

17                  provisions in the Ordinance;

18          B.      A declaratory judgment that the insurance mandate, fee requirement, and related

19                  enforcement provisions in the Ordinance violate the First, Second, and Fourteenth

20                  Amendments of the United States Constitution;

21          C.      An Order invalidating sections 10.32.215 and 10.32.230(B) of chapter 10.32 of title 10

22                  of the San Jose Municipal Code;

23          D.      Nominal damages;

24          E.      Costs and attorneys’ fees, including those authorized by 42 U.S.C. § 1988; and

25          F.      Any other relief as this Court, in its discretion, deems just and appropriate.

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27
28

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